
In re Claborn, Jerry; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. P, No. 00-5861; to the Court of Appeal, Fifth Circuit, No. 11-KH-811.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. *1058930.3; State ex rel Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
